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                                                                 ELECTRONICALLY FILED
                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                          CIVIL ACTION NO. 3:14-CV-335-JGH


JAMES BROWN, THERESA CAMBRON,                                                    PLAINTIFFS
PHILIP LEIGH, AND EMIL WALTHER
III,
On Behalf of Themselves and All Others
Similarly Situated,

V.

TAX EASE LIEN SERVICING, LLC, TAX
EASE LIEN INVESTMENTS 1, LLC,
BLUEGRASS ABSTRACT, LLC, LIEN
DATA SERVICES, LLC, PHIL
MIGICOVSKY, HAYDEN CRAIG &
GRANT, PLLC (N/K/A CRAIG LAW
OFFICE, PLLC), RICHARD ERIC
CRAIG, SHERROW, SUTHERLAND &
ASSOCIATES, PSC, AND BILLY W.
SHERROW                                                                        DEFENDANTS


     ANSWER OF SHERROW, SUTHERLAND & ASSOCIATES, P.S.C. AND BILLY W.
      SHERROW TO THE “HARPER COUNTERCLAIMANTS’ THIRD AMENDED
              COUNTERCLAIM AND INTERVENING COMPLAINT”


        The Defendants, Sherrow, Sutherland & Associates, P.S.C. (hereafter referred to as

“SSA”) and Billy W. Sherrow (hereafter referred to as “BWS”), by counsel, submit the

following Answer to the document styled “Harper Counterclaimants’ Third Amended

Counterclaim and Intervening Complaint:”

                                       Rule 12 Defense

        The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening

Complaint”, in whole or in part, fails to state a claim upon which relief can be granted against

these Defendants and, as such, should be dismissed pursuant to Fed Rules Civ Proc R 12(b)(6).

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                                      Rule 8(b) Defenses

       SSA and BWS respond to each respective numbered paragraph of the “Harper

Counterclaimants’ Third Amended Counterclaim and Intervening Complaint” as follows:

1. SSA and BWS affirmatively state that the claims of Ms. Harper, Mr. Goldsmith, Mr. Julian

   and Ms. Julian were dismissed by Order of the Jefferson Circuit Court on January 15, 2014.

   SSA and BWS deny the remaining allegations of this paragraph.

2. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

3. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

4. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

5. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

6. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

7. SSA and BWS do not deny any matters of public record, which documents speak for



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   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

8. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

9. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

10. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

11. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations, save

   that LDS does provide support services in connection with SSA’s representation of TELS

   and TELI.

12. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

13. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

14. SSA and BWS do not deny any matters of public record, which documents speak for



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   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

15. SSA and BWS admit that SSA is a profession service corporation with a principle office at

   200 Southland Drive, Lexington, Kentucky 40503. SSA and BWS deny the remaining

   allegations of this paragraph.

16. SSA and BWS admit that BWS is the president of SSA. SSA and BWS deny the remaining

   allegations of this paragraph.

17. SSA and BWS deny the allegations of this paragraph.

18. SSA and BWS admit that they reside and/or transact business in Kentucky. SSA and BWS

   lack knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of this paragraph.

19. SSA and BWS admit the allegations of this paragraph.

20. SSA and BWS admit the allegations of this paragraph.

21. SSA and BWS admit the allegations of this paragraph.

22. SSA and BWS admit the allegations of this paragraph, to the extent that it accurately

   represents the language of the Kentucky Revised Statutes and the Rules of the Kentucky

   Supreme Court, which speak for themselves. SSA and BWS deny that they have been

   involved in any “abuses” of these statutes and rules.

23. SSA and BWS deny the allegations of this paragraph.

24. SSA and BWS deny the allegations of this paragraph.

25. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

26. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of



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   the allegations of this paragraph.

27. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

28. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

29. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

30. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

31. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

32. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

33. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

34. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

35. SSA and BWS admit that Kentucky law does allow third party purchasers to recover some

   pre-litigation attorney fees. SSA and BWS deny the remaining allegations of this paragraph.

36. SSA and BWS do not deny the content of the documents attached as Exhibit 11 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS deny the remaining allegations of this



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   paragraph.

37. SSA and BWS deny the allegations of this paragraph to the extent that it is alleged that the

   letters are “bogus” or that the work was not performed at the direction and under the

   supervision of SSA. SSA and BWS admit the remaining allegations of this paragraph.

38. SSA and BWS deny that they simply “allow [their] name to be used.” SSA and BWS admit

   that BWS’s scanned signature and SSA’a firm name appear at the top of pre-litigation

   collection and notice letters that SSA prepares on behalf of TELS and TELI. SSA and BWS

   admit that LDS provides support services in connection with SSA’s representation of TELS

   and TELI. SSA and BWS deny the remaining allegations of this paragraph or any

   characterization of the facts that is inconsistent with the admissions made by SSA and BWS

   herein.

39. SSA and BWS deny the allegations of this paragraph.

40. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

41. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

   However, SSA and BWS admit that the information contained in paragraphs 3 through 5 of

   the affidavit of Trey Gullege appears to be consistent with the records of SSA.

42. SSA and BWS deny that the letters were “prepared” by Michelle Le. SSA and BWS admit

   that LDS provides support services in connection with SSA’s representation of TELS and

   TELI. SSA and BWS lack knowledge or information sufficient to form a belief about the



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   truth of the remaining allegations or any characterization of the facts that is inconsistent with

   the admissions made by SSA and BWS herein.

43. SSA and BWS deny the allegations of this paragraph.

44. SSA and BWS deny the allegations of this paragraph to the extent that it is alleged that the

   pre-litigation attorney fees are “phony” or that work was not performed by SSA and BWS.

   SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the remaining allegations of this paragraph.

45. SSA and BWS deny the allegations of this paragraph to the extent that it is alleged that the

   pre-litigation attorney fees charged by SSA are “neither actual nor reasonable, nor authorized

   by statute.” SSA and BWS deny the allegations of this paragraph to the extent that it is

   implied that work was not performed by SSA and BWS. SSA and BWS lack knowledge or

   information sufficient to form a belief about the truth of the remaining allegations of this

   paragraph.

46. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

47. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

48. SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

49. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the allegations of this paragraph.

50. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of



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   the allegations of this paragraph.

51. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

52. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

53. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

54. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS do not deny

   the content of the documents attached as Exhibit 11 to the “Harper Counterclaimants’ Third

   Amended Counterclaim and Intervening Complaint”, which documents speak for themselves.

   SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   the remaining allegations.

55. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS deny these



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   allegations.

56. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS deny these

   allegations.

57. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS deny these

   allegations.

58. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

59. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

60. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

61. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this



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   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

62. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

63. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

64. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

65. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

66. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

67. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of



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   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

68. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

69. SSA and BWS affirmatively state that the claims of Ms. Harper were dismissed by Order of

   the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of this

   paragraph is not required. To the extent a response is required; SSA and BWS deny these

   allegations.

70. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

71. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

72. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

73. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

74. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

75. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.



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76. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

77. SSA and BWS admit that LDS provides support services in connection with SSA’s

   representation of TELS and TELI including storing copies of pre-litigation collection letters

   sent by SSA on behalf of TELS and TELI. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

78. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

79. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

80. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

81. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

82. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

83. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

84. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

85. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

86. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of



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   these allegations.

87. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

88. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

89. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

90. SSA and BWS lack knowledge or information sufficient to form a belief about the truth of

   these allegations.

91. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

92. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

93. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

94. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of



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   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

95. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

96. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

97. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

98. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

99. SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed by

   Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations of

   this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

100.   SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed



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   by Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations

   of this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

101.   SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed

   by Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations

   of this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

102.   SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed

   by Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations

   of this paragraph is not required. To the extent a response is required; SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

103.   SSA and BWS affirmatively state that the claims of Mr. and Ms. Julian were dismissed

   by Order of the Jefferson Circuit Court on January 15, 2014 and a response to the allegations

   of this paragraph is not required. To the extent a response is required; SSA and BWS deny

   these allegations.

104.   To the extent a response is required; SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of these allegations.

105.   SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.

106.   SSA and BWS do not deny any matters of public record, which documents speak for

   themselves. Apart from their access to such matters of public record, SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of these allegations.



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107.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

108.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

109.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

110.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

111.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

112.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

113.   SSA and BWS do not deny the content of the documents attached as Exhibit 23 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. Apart from that, SSA and BWS lack knowledge or

   information sufficient to form a belief about the truth of these allegations.

114.   SSA and BWS deny that any of the fees they charged to TELS or TELI were

   “fabricated.” SSA and BWS lack knowledge or information sufficient to form a belief about

   the truth of the remaining allegations of this paragraph.

115.   SSA and BWS deny that they made any representations directly to Mr. Brown apart from

   any pre-litigation notice and collection letters that they may have sent. SSA and BWS lack

   knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of this paragraph.



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116.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

117.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

118.   SSA and BWS deny that the letters were “prepared” by LDS. SSA and BWS deny any

   implication that work was not actually performed by SSA and BWS. SSA and BWS admit

   that LDS provides support services in connection with SSA’s representation of TELS and

   TELI. SSA and BWS lack knowledge or information sufficient to form a belief about the

   truth of the remaining allegations or any characterization of the facts that is inconsistent with

   the admissions made by SSA and BWS herein.

119.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

120.   SSA and BWS do not deny the content of the documents attached as Exhibit 25 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS deny that the letters in question are

   “LDS letters” or any implication that SSA and BWS did not perform actual work. SSA and

   BWS lack knowledge or information sufficient to form a belief about the truth of the

   remaining allegations of this paragraph.

121.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

122.   SSA and BWS do not deny the content of the documents attached as Exhibit 27 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information



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   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

123.   SSA and BWS do not deny the content of the documents attached as Exhibit 27 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves.

124.   SSA and BWS do not deny the content of the documents attached as Exhibit 27 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves.

125.   SSA and BWS deny the allegations of this paragraph.

126.   SSA and BWS do not deny the content of the documents attached as Exhibits 28 and 29

   to the “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

127.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

128.   SSA and BWS deny that they made any representations directly to Ms. Cambron apart

   from any pre-litigation notice and collection letters that they may have sent. SSA and BWS

   lack knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of this paragraph.

129.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

130.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

131.   SSA and BWS deny that they have “victims” of any kind. SSA and BWS lack



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   knowledge or information sufficient to form a belief about the truth of the remaining

   allegations of this paragraph.

132.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of these allegations.

133.   SSA and BWS do not deny the content of the documents attached as Exhibit 30 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

134.   SSA and BWS do not deny the content of the documents attached as Exhibit 30 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

135.   SSA and BWS do not deny the content of the documents attached as Exhibit 30 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

136.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

137.   SSA and BWS do not deny the content of the documents attached as Exhibits 31 and 32

   to the “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

138.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth



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   of the allegations of this paragraph.

139.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

140.   SSA and BWS do not deny the content of the documents attached as Exhibit 33 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS deny the allegations of this paragraph

   to the extent that it is alleged that the letters are “bogus,” that fees were “racked up,” or that

   work was not performed by SSA. SSA and BWS lack knowledge or information sufficient to

   form a belief about the truth of the remaining allegations of this paragraph.

141.   SSA and BWS do not deny the content of the documents attached as Exhibit 34 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

142.   SSA and BWS do not deny the content of the documents attached as Exhibit 34 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

143.   SSA and BWS do not deny the content of the documents attached as Exhibit 35 to the

   “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”,

   which documents speak for themselves. SSA and BWS lack knowledge or information

   sufficient to form a belief about the truth of the remaining allegations of this paragraph.

144.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.



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145.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

146.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

147.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

148.   SSA and BWS deny the allegations of this paragraph.

149.   SSA and BWS deny the allegations of this paragraph.

150.   SSA and BWS deny the allegations of this paragraph.

151.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

152.   SSA and BWS deny the allegations of this paragraph.

153.   SSA and BWS restate every defense made in this Answer.

154.   SSA and BWS deny the allegations of this paragraph.

155.   SSA and BWS deny the allegations of this paragraph.

156.   SSA and BWS deny the allegations of this paragraph.

157.   SSA and BWS deny the allegations of this paragraph.

158.   SSA and BWS deny the allegations of this paragraph.

159.   SSA and BWS admit that they sent notice and collection letters to various individuals and

   entities in connection with SSA’s representation of TELI and TELS, but such letters were

   lawfully sent. SSA and BWS deny any allegations of this paragraph explicitly or implicitly

   alleging fraudulent activity on the part of SSA and BWS.

160.   SSA and BWS deny any allegations of this paragraph explicitly or implicitly alleging



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   fraudulent activity on the part of SSA and BWS.

161.   SSA and BWS deny any allegations of this paragraph explicitly or implicitly alleging that

   they are involved in a “scheme.” SSA and BWS lack knowledge or information sufficient to

   form a belief about the truth of the remaining allegations of this paragraph.

162.   SSA and BWS deny any allegations of this paragraph explicitly or implicitly alleging that

   they are involved in a “scheme.” SSA and BWS deny any allegations of this paragraph

   explicitly or implicitly alleging fraudulent activity on the part of SSA and BWS. SSA and

   BWS lack knowledge or information sufficient to form a belief about the truth of the

   remaining allegations of this paragraph.

163.   SSA and BWS deny the allegations of this paragraph.

164.   SSA and BWS restate every defense made in this Answer.

165.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

166.   SSA and BWS deny the allegations of this paragraph.

167.   SSA and BWS deny the allegations of this paragraph.

168.   SSA and BWS deny the allegations of this paragraph.

169.   SSA and BWS deny the allegations of this paragraph.

170.   SSA and BWS restate every defense made in this Answer.

171.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

172.   SSA and BWS lack knowledge or information sufficient to form a belief about the truth

   of the allegations of this paragraph.

173.   SSA and BWS deny the allegations of this paragraph.



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174.   SSA and BWS deny the allegations of this paragraph.

175.   SSA and BWS deny the allegations of this paragraph.

176.   SSA and BWS deny the allegations of this paragraph.

177.   SSA and BWS deny the allegations of this paragraph.

178.   SSA and BWS restate every defense made in this Answer.

179.   SSA and BWS deny the allegations of this paragraph.

180.   SSA and BWS deny the allegations of this paragraph.

181.   SSA and BWS deny the allegations of this paragraph.

182.   SSA and BWS restate every defense made in this Answer.

183.   SSA and BWS deny the allegations of this paragraph.

184.   SSA and BWS deny the allegations of this paragraph.

185.   SSA and BWS deny the allegations of this paragraph.

186.   SSA and BWS restate every defense made in this Answer.

187.   SSA and BWS deny the allegations of this paragraph.

188.   SSA and BWS deny the allegations of this paragraph.

189.   SSA and BWS deny the allegations of this paragraph.

190.   SSA and BWS restate every defense made in this Answer.

191.   SSA and BWS deny the allegations of this paragraph.

192.   SSA and BWS deny the allegations of this paragraph.

193.   SSA and BWS deny the allegations of this paragraph.

194.   SSA and BWS deny the allegations of this paragraph.

195.   SSA and BWS restate every defense made in this Answer.

196.   SSA and BWS deny the allegations of this paragraph.



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197.   SSA and BWS deny the allegations of this paragraph.

198.   All allegations of the “Harper Counterclaimants’ Third Amended Counterclaim and

   Intervening Complaint” which are not specifically addressed are denied.


                                Rule 8(c) Affirmative Defenses

1. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of accord and satisfaction.

2. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of estoppel.

3. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of res judicata.

4. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the applicable statute of limitations.

5. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of waiver.

6. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by their failure to mitigate their damages.

7. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of laches.

8. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by the doctrine of unclean hands.

9. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by their knowing, intentional and voluntary waiver of

   their rights or claims.

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10. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, by their own acts or omissions.

11. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as they have not suffered any damage.

12. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as the actions of SSA and BWS were reasonable or

   justified under the circumstances.

13. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as the actions of SSA and BWS were in compliance with

   KRS 134, the rules of the Kentucky Supreme Court, 18 U.S.C. 1341, and any other

   applicable law.

14. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as there is no actual controversy between SSA/BWS and

   the members of the purported class.

15. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as SSA/BWS has not encumbered or otherwise impaired

   the Plaintiffs’ ability to use their real property.

16. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as SSA/BWS’s representations were not material to the

   entry of any alleged forbearance agreement or agreed judgment.

17. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as they did not rely upon representations allegedly made

   by SSA/BWS’s in the entry of any alleged forbearance agreement or agreed judgment.



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18. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as any material representations made by SSA or BWS

   were true and lawful.

19. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as the statements complained of by the Plaintiff’s

   concerning the “reasonableness” of attorney fees charged by SSA/BWS were not of past or

   present material fact, but were instead opinion.

20. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as the statements complained of by the Plaintiff’s

   concerning the “reasonableness” of attorney fees charged by SSA/BWS were representations

   of law, not fact.

21. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as the Plaintiffs’ claim for fraud is not actionable because

   Plaintiffs suffered no actual pecuniary harm.

22. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as an action based on a theory of unjust enrichment is not

   available when there is an express, written agreement.

23. The “Harper Counterclaimants’ Third Amended Counterclaim and Intervening Complaint”

   may be barred, in whole or in part, as they are not “consumers” as contemplated by the

   Kentucky Consumer Protection Act.

24. These Defendants plead, reserve, assert, rely upon and incorporate by reference each and

   every defense set forth in the Federal Rules of Civil Procedure, including but not limited to

   Rules 8 and 12, as well as any defenses in common-law, Federal law, or the laws of the



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  Commonwealth of Kentucky which are supported by the facts, as if fully set forth. Because

  these Defendants have yet to avail themselves of their right to discovery, and do not fully

  know the circumstances of the allegations in the “Harper Counterclaimants’ Third Amended

  Counterclaim and Intervening Complaint”, these Defendants notify the Plaintiffs that until

  they can avail themselves of their right to discovery, it cannot be determined whether or not

  these Defendants will assert the above stated affirmative and other defenses at trial or

  whether those will be the only such defenses asserted. Such defenses are asserted in this

  Answer to preserve these Defendants’ right to assert such defenses at trial and to provide the

  Plaintiff with notice of these Defendants’ intention to assert such defenses and to avoid a

  waiver of any such defenses.

     WHEREFORE, these Defendants demand as follows:

     1.      Dismissal of the “Harper Counterclaimants’ Third Amended Counterclaim and

     Intervening Complaint” with prejudice;

     2.      A reasonable attorney fee;

     3.      Costs expended in this action; and,

     4.      Any and all other relief to which these Defendants appear entitled.

                                                           Respectfully submitted,

                                                           s/ Ryan A. Schwartz
                                                           Ryan A. Schwartz
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                                                           ASSOCIATES, P.S.C.
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                                                           Counsel for Sherrow, Sutherland &
                                                           Associates, P.S.C. and Billy Sherrow




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                               CERTIFICATE OF SERVICE

        This is to certify by the undersigned that on May 2, 2014 I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of
electronic filing to the following:

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       I hereby certify that a true and accurate copy of the foregoing was served by US Mail,
postage prepaid, on this 2nd day of May, 2014 upon the following non-CM/ECF users:

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